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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO


IVETTE M. MARTÍNEZ GONZÁLEZ, et als.

             Plaintiffs                                     CIVIL NO. 16-2077

                 v.

CATHOLIC SCHOOLS OF THE                                     CIVIL ACTION UNDER
ARCHDIOCESES OF SAN JUAN                                    THE PROVISIONS OF
PENSION PLAN, et als.                                       E.R.I.S.A.; PRELIMINARY
                                                            AND PERMANENT
            Defendants                                      INJUNCTION; TEMPORARY
                                                            RESTRAINING ORDER



     MOTION TO EXCEED PAGE LIMIT IN MOTION TO RENEW MOTION TO
    COMPEL DISCOVERY AND REQUEST FOR EXTENSION OF TIME TO FILE
            RESPONSE IN OPPOSITION TO MOTION TO DISMISS

TO THE HONORABLE COURT:

       COME NOW, the plaintiffs, through their undersigned attorneys and respectfully state

and pray:

       1.      On this same date, the appearing plaintiffs filed a Motion to Renew Motion to

Compel Discovery and Request for Extension of Time to File Response in Opposition to Motion

to Dismiss (Docket No. 157).

       2.      Said Motion exceeds the page limit set forth by Local Rule 7(d) of the Local Rules

of Civil Procedure, by nine (9) pages. The motion specifically addressed several objections to

defendants’ Answers to plaintiffs’ discovery requests, purporting complex legal grounds in support

of such objections. Due to the number of the objected answers, plaintiffs were forced explain in

detail their objections to the defendants’ responses, to comply with the applicable case law. In

addition to this, the Motion addressed other issues related to the filing of a Motion for Summary
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Judgment, disguised as a Second Motion to Dismiss pursuant to Rule 12(b)(6). In other words,

the Motion is not limited to a request for an Order to Compel Discovery, but also explains why

said Motion to Dismiss is really a Motion for Summary Judgment, that should not be considered

by the Court because it fails to comply with Local Rule 56.

       3.      In light of the aforementioned facts, plaintiffs were forced to exceed the page limit

set forth by the aforementioned Local Rule for non-dispositive motions. Consequently, they move

this Honorable Court to grant them leave to exceed such limit and accept the motion as filed.

       4.      Finally, plaintiffs would like to inform that due to an involuntary mistake, they

failed to certify in their Motion to Renew Motion to Compel that the same was filed using the

CM/ECF System which will send notification of such filing to all counsel of record.

       WHEREFORE, it is respectfully requested from this Honorable Court that it take notice

of the aforementioned facts and grant them relief sought herein.

       RESPECTFULLY SUBMITTED.

       I HEREBY CERTIFY: That on this same date plaintiffs filed the instant motion using

the CM/ECF System which will send notification of such filing to all counsel of record.

       In Guaynabo, Puerto Rico, this 6th day of December, 2017.

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